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IN THE UNITED STATES DISTRICTCOURT ==,
FOR THE NORTHERN DISTRICT OF TEXAS = is S50 27 AGE AS

DALLAS DIVISION w
UNITED STATES OF AMERICA NO.
V.
ASIF ALI 3-1 S8Ca- 483-M
INFORMATION

The United States Attorney Charges:
At all times material to the information:
Introduction
1. Captain Limousines, Inc. (Captain Limousines) was a Texas corporation
founded by defendant Asif Ali on April 24, 2008. When incorporated, Captain
Limousines was based in Irving, Texas. Captain Limousines specialized in private
transportation and provided various types of chauffeured limousine vehicles for various
transportation needs. In the filed incorporation documents, Ali was listed as the sole
Registered Agent and Chief Executive. The filed incorporation documents also
represented that Noor J. Ali and Abdul B. Butt were Executives of Captain Limousines.
2. America’s Best Investment Corporation (America’s Best Investment) was a
Texas corporation founded by defendant Ali in on April 20, 2010. When incorporated,

America’s Best Investment was based in Irving, Texas. In the filed incorporation

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documents, Ali was listed as the sole Registered Agent and sole member of the Board of
Directors.

3. Captain Limousines Worldwide Transportation, LLC (Captain Limousines
Worldwide) was a Texas corporation founded by defendant Ali and others on May 12,
2010. When incorporated, the Registered Agent of Captain Limousines Worldwide was
located in Dallas, Texas.

4. DFW Ground Link Transportation, LLC (DFW Ground Link) was a Texas
corporation founded by defendant Ali on August 24, 2012. When incorporated, DFW
Ground Link was based in Irving, Texas. DFW Ground Link specialized in private
transportation and provided various types of chauffeured limousine vehicles for various
transportation needs. In the filed incorporation documents, Asif Ali was listed as the
sole Registered Agent of DFW Ground Link.

5. Global Taxi and Transportation, LLC (Global Taxi) was a Texas
corporation founded by defendant Ali on July 15,2015. Ali was listed as the Registered

Agent for Global Tax in the incorporation documents.

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Count One
Wire Fraud, Aiding and Abetting
(Violations of 18 U.S.C. §§ 1343 and 2)
1. The United States Attorney hereby adopts, realleges and incorporates by
reference herein the allegations contained in the Introduction to this Information as if

fully set forth herein.

Scheme to Defraud

2. During the period from at least in or about December 2009 through in or
about April 2017, defendant Asif Ali, devised and intended to devise a scheme to defraud
at least 11 investors, and to obtain money and property from these investors by means of
materially false and fraudulent pretenses, representations, and promises.

Manner and Means

3. It was a part of the scheme to defraud that during the period from at least in
or about December 2009 to April 2017, defendant Ali made a series of false
representations in order to fraudulently induce several investors to provide Ali with
investment funds totaling at least $4,000,000. Ali made some of these false
representations directly to one or more investors.

4, It was a further part of the scheme to defraud from 2009 through 2017, Ali
fraudulently collected at least $4,291,000 from several investors. During this same
period, Ali repaid investors at least $613,000.

5. It was a further part of the scheme to defraud that Ali falsely represented to
investors that he would use investor funds to further the business operations of Captain

Limousines, Inc. in North Texas. In fact, none of the money was used for the operating

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expenses of Ali’s business Captain Limousines, Inc.. Ali concealed from investors that
the majority of the $4 million invested funds were disbursed as cash withdrawals.

6. It was a further part of the scheme to defraud that Ali sent at least twenty
fraudulent emails to investors which falsely represented that Ali had recently wired or
attempted to wire funds to his investors. Ali attempted to deceive investors by sending

investors false emails which falsely represented to investors that documents attached to

the emails were receipts for wire transfers to the investors. In fact, these so-called “wire

transfer receipts” were completely fictitious. As part of the scheme to defraud, Ali
falsely represented in these emails to investors that Ali had actually made legitimate
transfers to his investors.

7. It was a further part of the scheme to defraud that Ali falsely represented to
investors, verbally and via text message, that Ali had recently wired investors payments
on their investments. In truth, Ali secretly created fictitious wire transfer receipts and
sent these phony documents to investors via text message in an effort to deceive and
defraud his investors. Ali’s sent these false emails and text messages to investors in
order to relieve pressure from investors who were demanding a full accounting of their
investment funds.

8. As a result of this scheme, defendant Asif Ali fraudulently obtained and
spent investor funds totaling at least $4,000,000.

Interstate Wiring Used to Carry Out the Scheme to Defraud

9. On or about March 9, 2017, in the Dallas Division of the Northern District

of Texas, and elsewhere, defendant Asif Ali, for the purpose of carrying out and

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executing the scheme to defraud described above, and attempting to do so, by using
computers located in the Northern District of Texas, did knowingly and with the intent to
defraud, cause to be transmitted by electronic email communications to Google Gmail
computer servers located outside the state of Texas by wire in interstate commerce by
means of wire and radio communications, certain writings, signs, signals, and sounds
constituting an electronic interstate email communication in and through the Northern
District of Texas, in the following manner: Ali falsely represented in an email to
investor D.Y. that Ali recently received a wire transfer of $3,192,877 from Barclays
Bank. As part of this false and fraudulent email used to deceive investor D.Y., Ali
attached to this email a fictitious “wire transfer receipt” from Barclays Bank created by
Ali as part of the scheme to defraud investor D.Y.

In violation of 18 U.S.C. §§ 1343 and 2.

Respectfully submitted,

ERIN NEALY COX
United States Attorney

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